Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 1 of 11




                EXHIBIT 5
 REDACTED VERSION
  OF DOCUMENT
SOUGHT TO BE SEALED
      Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 2 of 11
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14    and OTTOMOTTO LLC

15                                  UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
17                                        SAN FRANCISCO DIVISION
18    WAYMO LLC,                                            Case No. 3:17-cv-00939-WHA
19                           Plaintiff,                     DEFENDANTS UBER
                                                            TECHNOLOGIES, INC. AND
20           v.                                             OTTOMOTTO LLC’S
                                                            SUPPLEMENTAL RESPONSES TO
21    UBER TECHNOLOGIES, INC.,                              WAYMO’S FIRST SET OF
      OTTOMOTTO LLC; OTTO TRUCKING LLC,                     EXPEDITED INTERROGATORIES
22                                                          PURSUANT TO PARAGRAPH SIX OF
                             Defendants.                    THE MAY 11, 2017 PRELIMINARY
23                                                          INJUNCTION ORDER (NOS. 5, 8)
24
                                                            Trial Date: October 10, 2017
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     DEFENDANTS’ SUPPL. RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES (NOS. 5,8)
     Case No. 3:17-cv-00939-WHA
      la-1352752
      Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 3 of 11
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 1           In accordance with Rule 34 of the Federal Rules of Civil Procedure, Defendants Uber

 2    Technologies, Inc. and Ottomotto LLC (collectively “Defendants”) object and respond

 3    supplementally to nos. 5 and 8 of Plaintiff Waymo LLC’s First Set of Expedited Interrogatories,

 4    served on May 22, 2017.

 5                                        GENERAL OBJECTIONS
 6           Defendants make the following general responses and objections (“General Objections”)

 7    to each definition, instruction, and request propounded in Waymo’s Interrogatories. These

 8    General Objections are hereby incorporated into each specific response. The assertion of the

 9    same, similar or additional objections or partial responses to the individual requests does not

10    waive any of Defendants’ General Objections.

11           1.      Defendants object to each Interrogatory, Definition, or Instruction to the extent it

12    seeks or purports to impose obligations beyond or inconsistent with those imposed by the Federal

13    Rules of Civil Procedure or the applicable rules and orders of this Court.

14           2.      Nothing in these responses is an admission by Defendants of the existence,

15    relevance, or admissibility of any information, for any purpose. Defendants reserve all objections

16    as to competency, relevance, materiality, privilege, or admissibility related to the use of its

17    responses and any document or thing identified in its responses as evidence for any purpose

18    whatsoever in any subsequent proceeding in this trial or any other action.

19           3.      Defendants object to each Interrogatory to the extent it seeks information not

20    within Defendants’ possession, custody, or control and not kept by Defendants in their ordinary

21    course of business. Defendants will provide only relevant, non-privileged information that is

22    within its present possession, custody, or control and available after a reasonable investigation.

23           4.      Defendants object to these Interrogatories insofar as they purport to require

24    Defendants to search for information beyond that which is available after a reasonable search as it

25    relates to this case and the limited scope of discovery at this stage.

26           5.      Defendants object to each Interrogatory to the extent that it is not limited in time.

27    Defendants will produce information from a reasonable time period as it relates to this case.

28           6.      Defendants object to each Interrogatory to the extent it seeks a response from

     DEFENDANTS’ SUPPL. RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES (NOS. 5, 8)              1
     Case No. 3:17-cv-00939-WHA
      la-1352752
      Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 4 of 11
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 1    persons or entities who are not parties to the lawsuit and over whom Defendants have no control.

 2    Defendants respond to the Interrogatories on Defendants’ own behalf.

 3           7.       To the extent any Interrogatory, Instruction, or Definition may be construed as

 4    calling for disclosure of information subject to the attorney-client privilege, work product

 5    immunity, joint defense or common interest, or any other applicable privilege or protection,

 6    Defendants hereby claim such privileges and immunities and object on such grounds. Defendants

 7    do not waive, intentionally or otherwise, any attorney-client privilege, work-product immunity,

 8    joint defense or common-interest privilege or any other privilege, immunity, or other protection

 9    that may be asserted to protect information from disclosure.

10           8.       Although Defendants have diligently complied with their discovery obligations at

11    this stage, their investigations in connection with this litigation are continuing. These responses

12    are limited to information obtained to date and are given without prejudice to Defendants’ right to

13    amend or supplement their responses after considering information obtained through further

14    discovery or investigation.

15           Subject to and without waiving its General Objections, Uber objects and responds to the

16    Interrogatories as follows:

17                  SPECIFIC OBJECTIONS AND SUPPLEMENTAL RESPONSES
18    INTERROGATORY NO. 5:

19           Describe all compensation (whether actual or conditional) discussed, conveyed or

20    promised by DEFENDANTS to LEVANDOWSKI at any time, INCLUDING (without

21    limitation) the DEFENDANT who discussed, conveyed or promised the compensation, the nature

22    of the compensation, the date the compensation was promised and/or conveyed, the amount of the

23    compensation, any conditions, contingencies, clawback rights or reservations associated with the

24    compensation.

25    RESPONSE TO INTERROGATORY NO. 5:

26           Defendants object to this interrogatory as overbroad because it is not limited in time.

27    Defendants further object to this interrogatory as overbroad, unduly burdensome, not “reasonably

28    narrow” as required by the May 11, 2017 order, and as seeking information that is neither

     DEFENDANTS’ SUPPL. RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES (NOS. 5, 8)             2
     Case No. 3:17-cv-00939-WHA
      la-1352752
      Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 5 of 11
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 1    relevant to a party’s claims or defenses nor likely to lead to discovery of admissible evidence in

 2    extending to “all compensation” ever “discussed, conveyed, or promised.” Defendants further

 3    object because this interrogatory is vague as to the undefined term “compensation.”

 4           Subject to and without waiving the general and specific objections above, Defendants

 5    respond as follows:

 6           Representatives of Uber, including Nina Qi and Cameron Poetzscher, began having

 7    general discussions with Mr. Levandowski about the compensation component of Uber’s

 8    acquisition of Ottomotto in early January 2016, and extending periodically until April 2016.

 9    These discussions were not specific to Mr. Levandowski’s compensation, but instead were

10    general discussions about the consideration that Uber would pay as part of its acquisition of

11    Ottomotto.

12           In accordance with Federal Rule of Civil Procedure 33(d), Defendants further respond to

13    this interrogatory by referring Waymo to Mr. Levandowski’s employment-related agreements,

14    produced at Bates UBER00011726–729 (Mr. Levandowski’s 280 Systems employment

15    agreement); UBER00017108–126 (2013 Equity Incentive Plan); UBER00017127–146 (Exhibit

16    A, “Milestones”); UBER00017083–091 (Mr. Levandowski’s Uber employment agreement,

17    signed on August 23, 2016); and UBER00017105–107 (                                           ). In

18    addition, Defendants also refer Waymo to the documents concerning Uber’s acquisition of

19    Ottomotto including, for example, those produced at Bates UBER00016453–523 (Agreement and

20    Plan of Merger) and UBER00017518–578 (Term Sheet).

21    SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 5:

22           Defendants object to this interrogatory as overbroad because it is not limited in time.

23    Defendants further object to this interrogatory as overbroad, unduly burdensome, not “reasonably

24    narrow” as required by the May 11, 2017 order, and as seeking information that is neither

25    relevant to a party’s claims or defenses nor likely to lead to discovery of admissible evidence in

26    extending to “all compensation” ever “discussed, conveyed, or promised.” Defendants further

27    object because this interrogatory is vague as to the undefined term “compensation.”

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     DEFENDANTS’ SUPPL. RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES (NOS. 5, 8)            3
     Case No. 3:17-cv-00939-WHA
      la-1352752
      Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 6 of 11
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 1           Subject to and without waiving the general and specific objections above, Defendants

 2    respond as follows:

 3           Representatives of Uber, including Nina Qi and Cameron Poetzscher, began having

 4    general discussions with Mr. Levandowski about the compensation component of Uber’s

 5    acquisition of Ottomotto in early January 2016, and extending periodically until April 2016.

 6    These discussions were not specific to Mr. Levandowski’s compensation, but instead were

 7    general discussions about the consideration that Uber would pay as part of its acquisition of

 8    Ottomotto.

 9           To date, Uber’s payments to Mr. Levandowski consist of the following:

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14                                                                  Uber conducted a diligent search and

15    identified no other compensation provided to Mr. Levandowski.

16           In accordance with Federal Rule of Civil Procedure 33(d), Defendants further respond to

17    this interrogatory by referring Waymo to Mr. Levandowski’s employment-related agreements,

18    produced at Bates UBER00011726–729 (Mr. Levandowski’s 280 Systems employment

19    agreement); UBER00017108–126 (2013 Equity Incentive Plan); UBER00017127–146 (Exhibit

20    A, “Milestones”); UBER00017083–091 (Mr. Levandowski’s Uber employment agreement,

21    signed on August 23, 2016); and UBER00017105–107 (                                          ). In

22    addition, Defendants also refer Waymo to the documents concerning Uber’s acquisition of

23    Ottomotto including, for example, those produced at Bates UBER00016453–523 (Agreement and

24    Plan of Merger) and UBER00017518–578 (Term Sheet).

25    INTERROGATORY NO. 8:

26           Describe all consulting work performed by LEVANDOWSKI for UBER before

27    August 18, 2016, INCLUDING the terms of the consulting and any compensation arrangements.

28

     DEFENDANTS’ SUPPL. RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES (NOS. 5, 8)            4
     Case No. 3:17-cv-00939-WHA
      la-1352752
      Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 7 of 11
                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1    RESPONSE TO INTERROGATORY NO. 8:

 2           Before August 18, 2016, Anthony Levandowski was not a retained consultant for Uber

 3    and there was no consultant agreement or consultancy compensation arrangement between Mr.

 4    Levandowski and Uber. Beginning in late winter or early spring 2016, and continuing until the

 5    transaction between Uber and Ottomotto closed, Mr. Levandowski would from time to time:

 6    visit Uber’s facilities in San Francisco and Pittsburgh; attend Uber meetings related to

 7    autonomous vehicles; meet with various Uber tech leads, engineers, and other employees of

 8    Uber’s autonomous vehicle program; tour Uber’s facilities and labs; and examine Uber’s

 9    autonomous vehicle project records.

10    SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 8:

11           Before August 18, 2016, Anthony Levandowski was not a retained consultant for Uber

12    and there was no consultant agreement or consultancy compensation arrangement between Mr.

13    Levandowski and Uber. Beginning in late winter or early spring 2016, and continuing until the

14    transaction between Uber and Ottomotto closed, Mr. Levandowski provided unpaid consulting

15    advice. Mr. Levandowski would from time to time: visit Uber’s facilities in San Francisco and

16    Pittsburgh; attend Uber meetings related to autonomous vehicles; meet with various Uber tech

17    leads, engineers, and other employees of Uber’s autonomous vehicle program; tour Uber’s

18    facilities and labs; and examine Uber’s autonomous vehicle project records. Mr. Levandowski

19    provided comments and suggestions on how to improve various aspects of Uber’s autonomous

20    vehicle program, including hardware and software.

21            Uber’s investigation is continuing, and Uber reserves its rights to supplement or amend

22    this response.

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     DEFENDANTS’ SUPPL. RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES (NOS. 5, 8)         5
     Case No. 3:17-cv-00939-WHA
      la-1352752
      Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 8 of 11
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 1    Dated: June 22, 2017                           MORRISON & FOERSTER LLP

 2
                                                     By: /s/ Arturo J. González
 3                                                         ARTURO J. GONZÁLEZ
 4                                                   Attorneys for Defendants
                                                     UBER TECHNOLOGIES, INC.
 5                                                   and OTTOMOTTO LLC
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     DEFENDANTS’ SUPPL. RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES (NOS. 5, 8)   6
     Case No. 3:17-cv-00939-WHA
      la-1352752
     Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 9 of 11
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 1                                                VERIFICATION

 2          I, Eric Meyhofer, declare:

 3          1.      I am Head of ATG for Defendant Uber Technologies, Inc. (“Uber”) in the above-

 4   captioned action, and I am authorized to execute this verification on behalf of Uber and

 5   Ottomotto LLC.

 6          2.      I have read Defendants Uber Technologies, Inc. and Ottomotto LLC’s

 7   Supplemental Responses to Waymo’s First Set of Expedited Interrogatories Pursuant to

 8   Paragraph Six of the May 11, 2017 Preliminary Injunction Order (Nos. 5, 8) (the “Responses”),

 9   and know the contents thereof.

10          3.      I am informed and believe that the matters stated in the Responses are true and

11   correct and, on that ground, allege that the matters stated therein are true and correct.

12

13          I declare under penalty of perjury that the foregoing is true and correct.

14          Executed this 22 day of June, 2017, at Pittsburgh, Pennsylvania.

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16
                                                            Eric Meyhofer
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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA
     la-1352752
     Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 10 of 11



 1                                   CERTIFICATE OF SERVICE

 2           I declare that I am employed with the law firm of Morrison & Foerster LLP, whose address
     is 755 Page Mill Road, CA 94304. I am not a party to the within cause, and I am over the age of
 3   eighteen years.

 4         I further declare that on June 22, 2017, I served true and correct copies of the following
     documents:
 5
           DEFENDANTS UBER TECHNOLOGIES, INC. AND OTTOMOTTO LLC’S
 6          SUPPLEMENTAL RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED
            INTERROGATORIES PURSUANT TO PARAGRAPH SIX OF THE MAY 11,
 7          2017 PRELIMINARY INJUNCTION ORDER (NOS. 5, 8)

 8    BY  ELECTRONIC SERVICE [Fed. Rule Civ. Proc. rule 5(b)] by electronically
        mailing a true and correct copy through Morrison & Foerster ’s electronic mail
                                                                             LLP
 9            system to the e-mail address(es) set forth below, or as stated on the attached service
              list per agreement in accordance with Federal Rules of Civil Procedure rule 5(b).
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     CERTIFICATE OF SERVICE
     Case No. 3:17-cv-00939-WHA
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     la-1352752
     Case 3:17-cv-00939-WHA Document 748-6 Filed 06/27/17 Page 11 of 11



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10
         Special Master
11
            I declare under penalty of perjury that the foregoing is true and correct. Executed at Palo
12
     Alto, California, this 22nd day of June, 2017.
13

14                   Ethel Villegas                                   /s/ Ethel Villegas
                        (typed)                                           (signature)
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     CERTIFICATE OF SERVICE
     Case No. 3:17-cv-00939-WHA
                                                                                                          2
     la-1352752
